                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION

                       In Re: Boston Scientific Corp.
              Pelvic Repair System Products Liability Litigation
                               MDL No. 2326
                                               2:13-28494
                             Civil Action No. ____________


                                SHORT FORM COMPLAINT

   Come now the Plaintiff(s) named below, and for Complaint against the Defendants named

below, incorporate The Master Complaint in MDL No. 2326 by reference. Plaintiff(s) further

show the Court as follows:

  1. Female Plaintiff:

       Angela Bertel

  2. Plaintiff Husband (if applicable):

       Mark Bertel

  3.   Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

       N/A

  4. State of Residence:

       Arizona


  5.   District Court and Division in which venue would be proper absent direct filing:

       United States District Court for the District of Arizona




   6. Defendants (Check Defendants against whom Complaint is made):

              A. Boston Scientific Corporation
                                                                                       Revised: 5/29/13
            B. American Medical Systems, Inc. (“AMS”)

            C. Johnson & Johnson

            D. Ethicon, Inc.

            E. Ethicon, LLC

            F. C. R. Bard, Inc. (“Bard”)

            G. Sofradim Production SAS (“Sofradim”)

            H. Tissue Science Laboratories Limited (“TSL”)

            I. Mentor Worldwide LLC

            J. Coloplast Corp.

7. Basis of Jurisdiction:

            Diversity of Citizenship

            Other: ___________________

   A. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

    4, 5, and 6




   B. Other allegations of jurisdiction and venue:

   N/A




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8. Defendants’ products implanted in Plaintiff (Check products implanted in Plaintiff):

           The Uphold Vaginal Support System;

           The Pinnacle Pelvic Floor Repair Kit;

           The Advantage Transvaginal Mid-Urethral Sling System;

           The Advantage Fit System;

           The Lynx Suprapubic Mid-Urethral Sling System;

           The Obtryx Transobturator Mid-Urethral Sling System;

           The Prefyx PPS System;

           The Solyx SIS System; and/or

           Other




9. Defendants’ Products about which Plaintiff is making a claim. (Check applicable
   products):

           The Uphold Vaginal Support System;

           The Pinnacle Pelvic Floor Repair Kit;

           The Advantage Transvaginal Mid-Urethral Sling System;

           The Advantage Fit System;

           The Lynx Suprapubic Mid-Urethral Sling System;

           The Obtryx Transobturator Mid-Urethral Sling System;

           The Prefyx PPS System;

           The Solyx SIS System; and/or




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           Other




10. Date of Implantation as to Each Product:

  11/3/2010




11. Hospital(s) where Plaintiff was implanted (Including City and State):

  St. Clare Health Center

  1015 Bowles

  Fenton, MO 63026

12. Implanting Surgeon(s):

  Dr. Edward Levy




13. Counts in the Master Complaint brought by Plaintiff(s)

           Count I – Negligence

           Count II – Strict Liability – Design Defect

           Count III – Strict Liability – Manufacturing Defect

           Count IV – Strict Liability – Failure to Warn

           Count V - Breach of Express Warranty

           Count VI – Breach of Implied Warranty

           Count VII (by the Husband) – Loss of Consortium


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       Count VIII – Discovery Rule, Tolling and Fraudulent Concealment

       Count IX – Punitive Damages

       Other Count _______________________If Plaintiff asserts additional claims,
       please state the factual and legal basis for these claims below:

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       Other Count _______________________If Plaintiff asserts additional claims,
       please state the factual and legal basis for these claims below:

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Dated: July 12, 2013

                                                 /s/ Hunter J. Shkolnik
                                                 Hunter J. Shkolnik, Esq.
                                                 Attorneys for Plaintiff


Address and Bar Information:

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